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             EXHIBIT 1




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 EIOC Fon l6l-B (012022)                   U.S. EeuAt, EMTLoYMEN'r' OrroK"ruNrry CoMMrssroN

                                             NorrcE oF RrGHT To                   SUE (lssurD oN               Rrguosr)
 'I'o:   Shauna Israel                                                                    From:    Los Angeles District Office
         1758 Highway 330 S.                                                                       2-55Eest Temple St,4th Floor
         Shirley, AR 72153                                                                         Los Angeles, CA 90012



          No.
 EEOC Chltrgc                                                IIDOC  Representativc                                                        TelephoDc No.
 348 2021-00534                                              !<arric 1ueeda,                                                              2137853002
                                                             State, Local& Tribal Program Manager

                                                                                                       (See qlso lhe   addilionol inlbrualion enclosed vilh this lbrn.)

NoTICE TO,THf, PERSON AGcRIEVED:
Title VII of thc Ciyil Rights Act of 1964, the Americans with Disabilities Act (ADA), or the Genetic Irformation Nondiscrimination
Act (GINA): This is your Noticc of Right to Sue, issued under Title Vll, the ADA or GINA based on the above-numbcrcd charge. [t has
been issued at your request. Your lawsuit under Title Vll, the ADA or GINA must be filed in a federal or state court y-[IEIN_90_D4-YS
of your receipt of this notice; or your right to sue based on this charge will be lost. ('l'he time limit for filing suit bascd on a claim undcr
state Iaw may be different.)
         More than I 80 days have passcd since the filing of this charge.
         '1'he   IlllOC is terminating its plocessing oflhis chargc.



Equal Ps! Act (EPA): You qlready hqye the right to sue under the EPA (filing an EEOC charge is not required.) EPA suits must be brought
in federql or state court within 2 yeqrs (3 years .fbr willful violqtions) ol the qlleged EPA underpaymenl, This medns thul backpay due fitr
an! violalions lhat occwtetl morc thsn 2 vears (3 t'ears) before you Jile suit ma)t not be collectible.


                                                         On behalf of the Commission

                                                         Digitrll) Signed B):Chriitinc Park-GonTalez
                                                         08/04t2422
 Enclosures(s)                                           Chtistine Park-Conzalez
                                                         Acting fristrict Dircctor


 cc:     Aaron Langberg
         Tesla, Inc.
         901 Page Avo.
         Frtmont, CA 9,1538
         Aaron l,angberg
         901 Page Avenue
         Fremont, CA 94538

         Mark Maosert
         MARK MAUStrRT LAW OFI-ICE
         729 Evans Ave brittaney@markmausertlaw.com
         Reno, NV 89512
